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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: September 12, 2019



________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION (CINCINNATI)

IN RE:                                          Case No. 15-14714
                                                Chapter 7
RUTH COLWELL
                                                Judge Beth A. Buchanan
             Debtor

___________________________________________________________________________________

    AGREED ORDER REGARDING TURNOVER OF ESTATE FUNDS
_______________________________________________________


      Come now Eric W. Goering, Chapter 7 Trustee, Debtor Ruth Colwell and her
counsel, Patricia Downing and agree to the following course of action regarding the
turnover of inherited funds that are property of the estate pursuant to 11 USC 541:

      1. The parties agree that the Debtor shall turnover to the Trustee $ 7,681.56 of
         inherited funds and court reporter fees of $ 120.00 for a total of $ 7,801.56.
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       2. The parties agree that the Debtor Ruth Colwell will pay $2,000.00 by
          September 6, 2019 and the balance of $ 5,801.56 by October 31, 2019.

       3. In the event Debtor does not make the timely payments, the parties agree that
             her Discharge, which was entered on March 30, 2016, shall be vacated upon a
             Motion filed by the Trustee. The Debtor waives any and all defenses other
             than the payment were made timely.


SO ORDERED


/s/ Eric W. Goering
Eric W. Goering, Chapter 7 Trustee

/s/ Ruth Colwell
Ruth Colwell, Debtor

/s/ Patricia Downing
Patricia Downing, Attorney for Debtor

Copies to:

Default list
